Case 2:17-cv-00671-JRG Document 87 Filed 06/22/18 Page 1 of 21 PageID #: 2160



                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                   MARSHALL DIVISION


 TESSERA ADVANCED TECHNOLOGIES,                             Case No. 2:17-cv-00671-JRG
 INC.

                            Plaintiff,                      JURY TRIAL REQUESTED
     v.

 SAMSUNG ELECTRONICS CO. LTD. AND
 SAMSUNG ELECTRONICS AMERICA,
 INC.,

                            Defendants.



          P.R. 4-3 JOINT CLAIM CONSTRUCTION AND PREHEARING STATEMENT

           Plaintiff Tessera Advanced Technologies, Inc. (“Tessera” or “Plaintiff”) and Defendants

Samsung Electronics Co., Ltd. and Samsung Electronics America, Inc. (collectively, “Samsung”

or “Defendants”) respectfully submit the below Joint Claim Construction and Prehearing

Statement in accordance with P.R. 4-3. The patents asserted in this case for which claim

construction is required are U.S. Patent Nos. 6,512,298 (the “’298 patent”) and 6,852,616 (the

“’616 patent”). These patents are included as Exhibits A and B to this joint statement.

I.         AGREED TERMS AND AGREED CONSTRUCTIONS

           The parties were unable to agree to any constructions at this time.

II.        DISPUTED TERMS

           In accordance with the meet and confer process pursuant to P.R. 4-2(c), the parties have

met and conferred to discuss their P.R. 4-1 and P.R. 4-2 exchanges and have attempted to narrow

the number of disputes for the remainder of the claim construction process. Tessera’s and




US-DOCS\101776257.2
Case 2:17-cv-00671-JRG Document 87 Filed 06/22/18 Page 2 of 21 PageID #: 2161



Samsung’s proposed constructions and identified support for the disputed claim terms are

presented in Appendix A.

III.    ANTICIPATED LENGTH OF TIME NECESSARY FOR THE CLAIM
        CONSTRUCTION HEARING

        The parties anticipate needing no more than 2 hours for the Claim Construction Hearing,

currently scheduled to begin September 17, 2018 at 1:30 p.m.

IV.     ANTICIPATED WITNESSES TO BE PRESENTED AT THE CLAIM
        CONSTRUCTION HEARING

        The parties do not expect to present live testimony of witnesses at the Claim Construction

Hearing. As identified in Appendix A, the parties may submit expert declarations from various

experts with the claim construction briefings.

V.      OTHER ISSUES FOR PREHEARING CONFERENCE

        At this time, a prehearing conference prior to the Claim Construction Hearing is not

scheduled with the Court. Currently, the parties do not believe there to be any additional issues

that would necessitate the scheduling of such a prehearing conference.




                                                 2
US-DOCS\101776257.2
Case 2:17-cv-00671-JRG Document 87 Filed 06/22/18 Page 3 of 21 PageID #: 2162



Dated: June 22, 2018                           Respectfully submitted,


/s/ CLEMENT J. NAPLES by permission Claire /s/ John Kappos by permission Claire Henry
Henry
                                           Mark A. Samuels (Cal. Bar No. 107026)
Clement J. Naples                          msamuels@omm.com
                                           Ryan K. Yagura (Tex. Bar No. 24075933)
New York Bar No. 4217717                   ryagura@omm.com
LATHAM & WATKINS LLP                       Brian M. Berliner (Cal. Bar No156732)
885 Third Avenue                           bberliner@omm.com
New York, NY 10022-4834                    Nicholas J. Whilt (Cal. Bar No. 247738)
Tel.: (212) 906-1200                       nwhilt@omm.com
Fax: (212) 751-4864                        Xin-Yi (Vincent) Zhou (Cal. Bar. No. 251969)
Clement.Naples@lw.com                      vzhou@omm.com
                                           Anthony G. Beasley (Tex. Bar No. 24093882)
                                           tbeasley@omm.com
Matthew J. Moore                           O’MELVENY & MYERS LLP
DC Bar No. 453773                          400 S. Hope Street
Lawrence J. Gotts                          Los Angeles, CA 90071
DC Bar No. 417219                          Telephone: 213-430-6000
LATHAM & WATKINS LLP                       Facsimile: 213-430-6407
555 Eleventh Street, NW Suite 1000         D. Sean Trainor (D.C. Bar No. 463514)
Washington, DC 20004-1304                  dstrainor@omm.com
Tel.: (202) 637-2200                       O’MELVENY & MYERS LLP
Fax: (202) 637-2201                        1625 Eye Street NW
Matthew.Moore@lw.com                       Washington, DC 20037
Lawrence.Gotts@lw.com                      Telephone: 202-383-5300
Alan.Billharz@lw.com                       Facsimile: 202-383-5414

                                               Melody N. Drummond Hansen (Cal. Bar No.
Joseph H. Lee                                  278786)
California Bar No. 248046                      mdrummondhansen@omm.com
LATHAM & WATKINS LLP                           O’MELVENY & MYERS LLP
650 Town Center Drive, 20th Floor              2765 Sand Hill Road
Costa Mesa, CA 92626-1925                      Menlo Park, CA 94025
Tel: 714-540-1235                              Telephone: 650-473-2600
                                               Facsimile: 650-473-2601
Fax: 714-755-8290
Joseph.Lee@lw.com                              John Kappos (Cal. Bar No. 171977)
                                               jkappos@omm.com
Amit Makker                                    Bo K. Moon (Cal. Bar No. 268481)
California Bar No. 280747                      bmoon@omm.com
Brian W. Lewis                                 Cameron W. Westin (Cal. Bar No. 290999)
                                               cwestin@omm.com
California Bar No. 290727                      O’MELVENY & MYERS LLP
LATHAM & WATKINS LLP                           610 Newport Center Drive, 17th Floor
505 Montgomery Street, Suite 2000              Newport Beach, CA 92660
San Francisco, CA 94111                        Telephone: 949-823-6900
Tel: 415-391-0600                              Facsimile: 949-923-6994
Fax: 415-395-8095
Amit.Makker@lw.com
                                           3
US-DOCS\101776257.2
Case 2:17-cv-00671-JRG Document 87 Filed 06/22/18 Page 4 of 21 PageID #: 2163



Brian.W.Lewis@lw.com                                 Melissa R. Smith
                                                     melissa@gillamsmithlaw.com
T. John Ward                                         GILLAM & SMITH, LLP
Texas State Bar No. 20848000                         303 South Washington Avenue
Claire Abernathy Henry                               Marshall, TX 75670
Texas State Bar No. 24053063                         Telephone: 903-934-8450
Andrea Fair                                          Facsimile: 903-934-9257
Texas State Bar No. 24078488
WARD, SMITH & HILL, PLLC
PO Box 1231
Longview, Texas 75606-1231                           Attorneys for Defendants Samsung
(903) 757-6400 (telephone)                           Electronics Co., Ltd. and Samsung
(903) 757-2323 (facsimile)                           Electronics America, Inc.
tjw@wsfirm.com
claire@wsfirm.com
andrea@wsfirm.com



Attorneys for Plaintiff Tessera Advanced
Technologies, Inc.




                                 CERTIFICATE OF SERVICE

        I hereby certify that a copy of the foregoing document was filed electronically in

compliance with Local Rule CV-5(a). Therefore, this document was served on all counsel who

are deemed to have consented to electronic service. Local Rule CV-5(a)(3)(A). Pursuant to Fed.

R. Civ. P. 5(d) and Local Rule CV-5(d) and (e), all other counsel of record not deemed to have

consented to electronic service were served with a true and correct copy of the foregoing by

email on this 22nd day of June, 2018.

                                                /s/ Claire Henry




                                                 4
US-DOCS\101776257.2
                      Case 2:17-cv-00671-JRG Document 87 Filed 06/22/18 Page 5 of 21 PageID #: 2164
                                                      APPENDIX A




                                              APPENDIX A




                                                            5
US-DOCS\101776257.2
                      Case 2:17-cv-00671-JRG Document 87 Filed 06/22/18 Page 6 of 21 PageID #: 2165
                                                             APPENDIX A

                        U.S. PATENT NOS. 6,232,231 (CLAIMS 1-6, 8-13) AND 6,852,616 (CLAIMS 1-6, 8-9)1

       Claim Term(s)         Plaintiff’s Proposed Construction And Support              Defendants’ Proposed Construction And
       From ’298/’616                                                                                  Support
          Patents

    “external electrode”     “electrode in [a/the] package for connection to        “portion of a conductive pattern configured to
                             external equipment”                                    contact an ‘external electrode terminal’ (as defined
    ’298 patent, claims 1,                                                          below) or external equipment”
    8, 12, 13                Intrinsic Evidence
                                                                                    Intrinsic Evidence
    ’616 patent, claims 1,   ’298 Patent at Abstract, 1:7-2:29, 2:31-3:37, 3:44-
    8, 9                     47, 3:65-4:27, 4:51-5:50, 5:54-6:9, 6:6-23, 6:28-58,   ’298 Patent at Abstract, 1:29-51, 1:55-3:48, 3:12-
                             7:14-26, 7:35-56, 8:4-48, 8:54-58, 9:11-60, 10:3-      48, 3:65-4:27, 4:19-27, 4:51-6:9, 6:6-23, 6:28-55,
                             16, 10:19-67, 11:40-12:4, Figs. 1-5, claims 1-6, 8-    7:14-26, 8:4-48, 9:11-60, 10:3-16, 10:45-67, 11:64-
                             12.                                                    12:4, Figs. 2, 3AD, 4A-D, 5.

                             ’616 Patent at Abstract, 1:7-2:29, 2:31-3:37, 3:44-    ’298 Patent File History, Non-Final Office Action
                             47, 3:65-4:27, 4:51-5:50, 5:54-6:9, 6:6-23, 6:28-58,   dated April 23, 2002, Notice of Allowability dated
                             7:14-26, 7:35-56, 8:4-48, 8:54-58, 9:11-60, 10:3-      August 13, 2002, cited prior art
                             16, 10:19-67, 11:40-12:4, Figs. 1-5, claims 1-6, 8-
                             9.                                                     ’616 Patent File History, Non-Final Office Action
                                                                                    dated December 31, 2003, Applicant’s Amendment
                             ’298 Patent File History, Non-Final Office Action      and Remarks dated June 1, 2004, Notice of
                             dated April 23, 2002, Amendment dated May 17,          Allowability dated June 22, 2004, cited prior art
                             2002, Notice of Allowability dated August 13,
                             2002, Certificate of Correction dated May 14,          Extrinsic Evidence
                             2007, cited prior art
                                                                                    McGraw-Hill Dictionary of Engineering at p. 191
                                                                                    (2003)

1
  The ’298 and ’616 patents share substantially the same specification. The parties agree that citations to either specification preserve
the ability to rely on corresponding text in each specification. The parties further reserve the right to rely on evidence disclosed by the
other party.
                                                                     6
US-DOCS\101776257.2
                      Case 2:17-cv-00671-JRG Document 87 Filed 06/22/18 Page 7 of 21 PageID #: 2166
                                                             APPENDIX A


     Claim Term(s)           Plaintiff’s Proposed Construction And Support             Defendants’ Proposed Construction And
     From ’298/’616                                                                                   Support
        Patents

                             ’616 Patent File History, Non-Final Office Action     The New Oxford American Dictionary at p. 549
                             dated December 31, 2003, Applicant’s Amendment        (2001)
                             and Remarks dated June 1, 2004, Notice of
                             Allowability dated June 22, 2004, Certificate of      The New Shorter Oxford English Dictionary at p.
                             Correction dated October 11, 2005, cited prior art    796 (1993)

                             Inter Partes Review                                Testimony of Peter Elenius and/or Pradeep Lall that
                                                                                “external electrode” should be construed to mean
                             Samsung Elecs. Co., Ltd. v. Tessera Advanced       “portion of a conductive pattern configured to
                             Technologies, Inc., IPR2018-01264, Doc. No. 1,     contact an ‘external electrode terminal’ (as defined
                             Samsung’s Petition for Inter Partes Review of U.S. below) or external equipment.” The expert will
                             Patent No. 6,852,616 (June 15, 2018), and exhibits explain the technology, the state of the art at the
                             thereto.                                           time the patent application was filed, the meaning
                                                                                of claim terms or phrases as they would be
                             Samsung Elecs. Co., Ltd. v. Tessera Advanced       understood by those of ordinary skill in the art at
                             Technologies, Inc., IPR2018-01263, Doc. No. 1,     the time of the invention, how those of ordinary
                             Samsung’s Petition for Inter Partes Review of U.S. skill in the art at the time of the invention would
                             Patent No. 6,512,298 (June 15, 2018), and exhibits have understood statements made by the patentee
                             thereto.                                           during prosecution of the applications, the
                                                                                indefiniteness of any of the asserted claims, and the
                             Extrinsic Evidence
                                                                                level of ordinary skill in the relevant art. The expert
                             Random House Webster’s Unabridged Dictionary, may also offer a declaration, if necessary, to
                             2nd Edition, 1998, at 684-85.                      respond to Tessera’s contentions, any expert
                                                                                testimony on behalf of Tessera, or for the Court’s
                             The American Heritage College Dictionary, 3 Ed., benefit.
                                                                          rd

                             1997, at 485.




                                                                    7
US-DOCS\101776257.2
                      Case 2:17-cv-00671-JRG Document 87 Filed 06/22/18 Page 8 of 21 PageID #: 2167
                                                              APPENDIX A


     Claim Term(s)           Plaintiff’s Proposed Construction And Support         Defendants’ Proposed Construction And
     From ’298/’616                                                                               Support
        Patents

                             The American Heritage College Dictionary, 4th Ed.,
                             2002, at 494.

                             American Heritage Dictionary of English
                             Language, 4th Ed., 2000, at 628.

                             Merriam-Webster’s Collegiate Dictionary, 10th
                             Ed., 2001, at 411.

                             Shorter Oxford English Dictionary, 5th Ed., 2002,
                             vol. 2 at 901-02.

                             Webster’s II New College Dictionary, 3rd Ed., 2001,
                             at 397.

                             Modern Dictionary of Electronics, 7th Ed., Rudolf
                             F. Graf, 1999 at 113, 239, 381, 769-70, 778.

                             The Illustrated Dictionary of Electronics, 8th Ed.,
                             Stan Gibilisco, 2001 at 237, 368, 505, 510, 678.

                             U.S. Patent No. 6,538,319.

                             International Technology Roadmap for
                             Semiconductors 2.0, 2015 Edition, Heterogeneous
                             Integration, 2015.

                             International Technology Roadmap for
                             Semiconductors, 2007 Edition, Assembly and
                             Packaging, 2007.

                                                                     8
US-DOCS\101776257.2
                      Case 2:17-cv-00671-JRG Document 87 Filed 06/22/18 Page 9 of 21 PageID #: 2168
                                                              APPENDIX A


     Claim Term(s)           Plaintiff’s Proposed Construction And Support             Defendants’ Proposed Construction And
     From ’298/’616                                                                                   Support
        Patents

                             WLCSP and Flip Chip Bumping Technologies,
                             Andrew Strandjord et al., Advanced Packaging,
                             March 19, 2008.

                             Wafer Level Packaging (WLP): Fan-in, Fan-out
                             and Three-Dimensional Integration, Xuejun Fan,
                             April 2010.

                             SAMS232-0013163

                             SAMS232-0027871

                             SAMS232-0027882

                             U.S. Patent No. 7,298,045

                             U.S. Patent No. 9,640,499

                             U.S. Patent App. 2001/0020739

                             U.S. Patent App. 2005/0194686

                             Plaintiff may rely on the testimony of Drs. Streit,
                             Lee, and/or Kenny regarding the proper
                             construction of this term and/or its definiteness.

 “external electrode         “terminal on the outer surface of the package for     “metallic ball or conductive bump configured to
 terminal”                   connection to external equipment”                     connect to external equipment”

                             Intrinsic Evidence                                    Intrinsic Evidence

                                                                     9
US-DOCS\101776257.2
                      Case 2:17-cv-00671-JRG Document 87 Filed 06/22/18 Page 10 of 21 PageID #: 2169
                                                             APPENDIX A


     Claim Term(s)            Plaintiff’s Proposed Construction And Support             Defendants’ Proposed Construction And
     From ’298/’616                                                                                    Support
        Patents

 ’298 patent, claims 8,      ’298 Patent at Abstract, 1:7-2:29, 2:31-3:37, 3:44-    ’298 Patent at Abstract, 1:7-13, 1:29-51, 1:55-3:48,
 10-13                       47, 3:65-4:27, 4:51-5:50, 5:54-6:9, 6:6-23, 6:28-58,   2:21-29, 3:65-4:27, 4:19-27, 4:51-6:9, 6:28-55,
                             7:14-26, 7:35-56, 8:4-48, 8:54-58, 9:11-60, 10:3-      7:14-26, 8:4-48, 9:11-60, 10:20-44, 11:20-39,
 ’616 patent, claim 9        16, 10:19-67, 11:40-12:4, Figs. 1-5, claims 1-6, 8-    11:64-12:4, Figs. 2, 3A-D, 4A-D, 5.
                             12.
                                                                                    ’298 Patent File History, Non-Final Office Action
                             ’616 Patent at Abstract, 1:7-2:29, 2:31-3:37, 3:44-    dated April 23, 2002, Notice of Allowability dated
                             47, 3:65-4:27, 4:51-5:50, 5:54-6:9, 6:6-23, 6:28-58,   August 13, 2002, cited prior art
                             7:14-26, 7:35-56, 8:4-48, 8:54-58, 9:11-60, 10:3-
                             16, 10:19-67, 11:40-12:4, Figs. 1-5, claims 1-6, 8-    ’616 Patent File History, Non-Final Office Action
                             9.                                                     dated December 31, 2003, Applicant’s Amendment
                                                                                    and Remarks dated June 1, 2004, Notice of
                             ’298 Patent File History, Non-Final Office Action      Allowability dated June 22, 2004, cited prior art.
                             dated April 23, 2002, Amendment dated May 17,
                             2002, Notice of Allowability dated August 13,          Extrinsic Evidence
                             2002, Certificate of Correction dated May 14,
                             2007, cited prior art                                  U.S. Patent No. 6,054,773

                             ’616 Patent File History, Non-Final Office Action      The IEEE Standard Dictionary of Electrical and
                             dated December 31, 2003, Applicant’s Amendment         Electronic Terms at pp. 1095-97 (6th ed. 1996)
                             and Remarks dated June 1, 2004, Notice of
                             Allowability dated June 22, 2004, Certificate of       The IEEE Standard Dictionary of Electrical and
                             Correction dated October 11, 2005, cited prior art     Electronic Terms at pp. 1163-64 (7th ed. 2000)

                             Inter Partes Review                                    Modern Dictionary of Electronics at pp. 769-770
                                                                                    (1999)
                             Samsung Elecs. Co., Ltd. v. Tessera Advanced
                             Technologies, Inc., IPR2018-01264, Doc. No. 1,         Wiley Electrical and Electronics Engineering
                             Samsung’s Petition for Inter Partes Review of U.S.     Dictionary at p. 780 (2004)

                                                                    10
US-DOCS\101776257.2
                      Case 2:17-cv-00671-JRG Document 87 Filed 06/22/18 Page 11 of 21 PageID #: 2170
                                                            APPENDIX A


     Claim Term(s)            Plaintiff’s Proposed Construction And Support           Defendants’ Proposed Construction And
     From ’298/’616                                                                                  Support
        Patents

                             Patent No. 6,852,616 (June 15, 2018), and exhibits   Merriam-Webster Collegiate Dictionary at p. 1216
                             thereto.                                             (10th ed. 1998)

                             Samsung Elecs. Co., Ltd. v. Tessera Advanced         American Heritage College Dictionary at p. 1399
                             Technologies, Inc., IPR2018-01263, Doc. No. 1,       (3rd ed. 1993)
                             Samsung’s Petition for Inter Partes Review of U.S.
                             Patent No. 6,512,298 (June 15, 2018), and exhibits   New Shorter Oxford English Dictionary at pp.
                             thereto.                                             3253-54 (4th ed. 1993)

                             Extrinsic Evidence                                   American Heritage Dictionary of the English
                                                                                  Language at p. 1852 (3d ed. 1996)
                             Random House Webster’s Unabridged Dictionary,
                             2nd Edition, 1998 at 684-85.                         Webster’s II New College Dictionary at p. 1138
                                                                                  (1999)
                             The American Heritage College Dictionary, 3rd Ed.,
                             1997, at 485.
                                                                               New Lexicon Webster Encyclopedic Dictionary of
                             The American Heritage College Dictionary, 4 Ed., the English Language at p. 1020 (1991)
                                                                          th

                             2002, at 494.
                                                                               Testimony of Peter Elenius and/or Pradeep Lall that
                             American Heritage Dictionary of English           “external electrode terminal” should be construed
                                          th
                             Language, 4 Ed., 2000, at 628.                    to mean “metallic ball or conductive bump
                                                                               configured to connect to external equipment.” The
                             Merriam-Webster’s Collegiate Dictionary, 10th     expert will explain the technology, the state of the
                             Ed., 2001, at 411.                                art at the time the patent application was filed, the
                                                                               meaning of claim terms or phrases as they would be
                             Shorter Oxford English Dictionary, 5th Ed., 2002, understood by those of ordinary skill in the art at
                             vol. 2 at 901-02.                                 the time of the invention, how those of ordinary
                                                                               skill in the art at the time of the invention would
                                                                               have understood statements made by the patentee

                                                                   11
US-DOCS\101776257.2
                      Case 2:17-cv-00671-JRG Document 87 Filed 06/22/18 Page 12 of 21 PageID #: 2171
                                                             APPENDIX A


     Claim Term(s)            Plaintiff’s Proposed Construction And Support             Defendants’ Proposed Construction And
     From ’298/’616                                                                                    Support
        Patents

                             Webster’s II New College Dictionary, 3rd Ed., 2001, during prosecution of the applications, the
                             at 397.                                             indefiniteness of any of the asserted claims, and the
                                                                                 level of ordinary skill in the relevant art. The expert
                             Modern Dictionary of Electronics, 7th Ed., Rudolf may also offer a declaration, if necessary, to
                             F. Graf, 1999 at 113, 239, 381, 769-70, 778.        respond to Tessera’s contentions, any expert
                                                                                 testimony on behalf of Tessera, or for the Court’s
                             The Illustrated Dictionary of Electronics, 8th Ed., benefit.
                             Stan Gibilisco, 2001 at 237, 368, 505, 510, 678.

                             International Technology Roadmap for
                             Semiconductors 2.0, 2015 Edition, Heterogeneous
                             Integration, 2015.

                             International Technology Roadmap for
                             Semiconductors, 2007 Edition, Assembly and
                             Packaging, 2007.

                             WLCSP and Flip Chip Bumping Technologies,
                             Andrew Strandjord et al., Advanced Packaging,
                             March 19, 2008.

                             Wafer Level Packaging (WLP): Fan-in, Fan-out
                             and Three-Dimensional Integration, Xuejun Fan,
                             April 2010.

                             SAMS232-0013163

                             SAMS232-0027871

                             SAMS232-0027882

                                                                    12
US-DOCS\101776257.2
                      Case 2:17-cv-00671-JRG Document 87 Filed 06/22/18 Page 13 of 21 PageID #: 2172
                                                              APPENDIX A


     Claim Term(s)            Plaintiff’s Proposed Construction And Support             Defendants’ Proposed Construction And
     From ’298/’616                                                                                    Support
        Patents

                             U.S. Patent No. 6,538,319.

                             U.S. Patent No. 7,298,045

                             U.S. Patent No. 9,640,499

                             U.S. Patent App. 2001/0020739

                             U.S. Patent App. 2005/0194686

                             Samsung’s Interrogatory Responses and Invalidity
                             Contentions

                             Plaintiff may rely on the testimony of Drs. Streit,
                             Lee, and/or Kenny regarding the proper
                             construction of this term and/or its definiteness.

 “a second, thick            Plain and ordinary meaning, no construction            indefinite
 conductive film             necessary.
 selectively on the first,                                                          Intrinsic Evidence
 thin conductive film”       Intrinsic Evidence
                                                                                    ’616 Patent at Abstract, 1:33-55, 1:58-2:15, 8:8-52,
 ’616 patent, claim 1        ’298 Patent at Abstract, 1:28-55, 1:58-2:15, 8:4-52,   9:15-64, 13:1-19, Figs. 2, 3A-D, 4A-D, 5.
                             9:11-64, 12:15-19, Figs. 1-5, claims 1-6, 8-12.
                                                                                    ’298 Patent File History, Non-Final Office Action
                             ’616 Patent at Abstract, 1:28-55, 1:58-2:15, 8:4-52,   dated April 23, 2002, Notice of Allowability dated
                             9:11-64, 12:15-19, Figs. 1-5, claims 1-6, 8-9.         August 13, 2002, cited prior art

                             ’298 Patent File History, Non-Final Office Action      ’616 Patent File History, Non-Final Office Action
                             dated April 23, 2002, Amendment dated May 17,          dated December 31, 2003, Applicant’s Amendment
                             2002, Notice of Allowability dated August 13,
                                                                     13
US-DOCS\101776257.2
                      Case 2:17-cv-00671-JRG Document 87 Filed 06/22/18 Page 14 of 21 PageID #: 2173
                                                             APPENDIX A


     Claim Term(s)            Plaintiff’s Proposed Construction And Support           Defendants’ Proposed Construction And
     From ’298/’616                                                                                  Support
        Patents

                             2002, Certificate of Correction dated May 14,        and Remarks dated June 1, 2004, Notice of
                             2007, cited prior art                                Allowability dated June 22, 2004, cited prior art.

                             ’616 Patent File History, Non-Final Office Action    Extrinsic Evidence
                             dated December 31, 2003, Applicant’s Amendment
                             and Remarks dated June 1, 2004, Notice of            John H. Lau et al., Chip Scale Package: Design,
                             Allowability dated June 22, 2004, Certificate of     Materials, Process, Reliability, and Applications,
                             Correction dated October 11, 2005, cited prior art   pp. 61-70, 97-105, 129-141, 519-527 (1999).

                             Inter Partes Review                                  Testimony of Peter Elenius and/or Pradeep Lall that
                                                                                  the term “a second, thick conductive film
                             Samsung Elecs. Co., Ltd. v. Tessera Advanced         selectively on the first, thin conductive film” is
                             Technologies, Inc., IPR2018-01264, Doc. No. 1,       indefinite. The expert will explain the technology,
                             Samsung’s Petition for Inter Partes Review of U.S.   the state of the art at the time the patent application
                             Patent No. 6,852,616 (June 15, 2018), and exhibits   was filed, the meaning of claim terms or phrases as
                             thereto.                                             they would be understood by those of ordinary skill
                                                                                  in the art at the time of the invention, how those of
                             Samsung Elecs. Co., Ltd. v. Tessera Advanced         ordinary skill in the art at the time of the invention
                             Technologies, Inc., IPR2018-01263, Doc. No. 1,       would have understood statements made by the
                             Samsung’s Petition for Inter Partes Review of U.S.   patentee during prosecution of the applications, the
                             Patent No. 6,512,298 (June 15, 2018), and exhibits   indefiniteness of any of the asserted claims, and the
                             thereto.                                             level of ordinary skill in the relevant art. The expert
                                                                                  may also offer a declaration, if necessary, to
                             Extrinsic Evidence                                   respond to Tessera’s contentions, any expert
                                                                                  testimony on behalf of Tessera, or for the Court’s
                             Modern Dictionary of Electronics, 7th Ed., Rudolf    benefit.
                             F. Graf, 1999 at 240-241, 252, 284, 456, 571, 643,
                             646.



                                                                   14
US-DOCS\101776257.2
                      Case 2:17-cv-00671-JRG Document 87 Filed 06/22/18 Page 15 of 21 PageID #: 2174
                                                              APPENDIX A


     Claim Term(s)            Plaintiff’s Proposed Construction And Support            Defendants’ Proposed Construction And
     From ’298/’616                                                                                   Support
        Patents

                             The Illustrated Dictionary of Electronics, 8th Ed.,
                             Stan Gibilisco, 2001 at 178, 251, 682, 687.

                             Concise Dictionary of Engineering: A Guide to the
                             Language of Engineering, Ed. Ron Hanifan, 2014
                             at 56, 215.

                             U.S. Patent No. 6,284,563

                             Samsung’s Interrogatory Responses and Invalidity
                             Contentions

                             Plaintiff may rely on the testimony of Drs. Streit,
                             Lee, and/or Kenny regarding the proper
                             construction of this term and/or its definiteness.

 “forming a second,          Plain and ordinary meaning, which includes              The term “a second, thick conductive film
 thick conductive film       “forming a second, thick conductive film                selectively on the first, thin conductive film” is
 selectively on the first,   selectively on the first, thin conductive film so as to indefinite as stated above
 thin conductive film so     plug or span the first opening and second opening.”
 as to fill up the first                                                             plain and ordinary meaning for theremainder of the
 opening and second                                                                  term
 opening”
                             Intrinsic Evidence                                     Intrinsic Evidence
 ’616 patent, claim 1
                             ’298 Patent at Abstract, 1:28-55, 1:58-2:15, 4:51-     ’616 Patent at Abstract, 1:33-55, 1:58-
                             5:6, 8:4-52, 9:11-64, 12:15-13:19, Figs. 1-5, claims   2:15, 4:54-5:9, 8:8-52, 9:15-64, 13:1-19,
                             1-6, 8-12.                                             Figs. 2, 3A-D, 4A-D, 5.



                                                                     15
US-DOCS\101776257.2
                      Case 2:17-cv-00671-JRG Document 87 Filed 06/22/18 Page 16 of 21 PageID #: 2175
                                                             APPENDIX A


     Claim Term(s)            Plaintiff’s Proposed Construction And Support             Defendants’ Proposed Construction And
     From ’298/’616                                                                                    Support
        Patents

                             ’616 Patent at Abstract, 1:28-55, 1:58-2:15, 4:51-     ’298 Patent File History, Non-Final
                             5:6, 8:4-52, 9:11-64, 12:15-13:19, Figs. 1-5, claims   Office Action dated April 23, 2002,
                             1-6, 8-9.                                              Notice of Allowability dated August 13,
                             ’298 Patent File History, Non-Final Office Action      2002, cited prior art
                             dated April 23, 2002, Amendment dated May 17,
                             2002, Notice of Allowability dated August 13,          ’616 Patent File History, Non-Final
                             2002, Certificate of Correction dated May 14,          Office Action dated December 31, 2003,
                             2007, cited prior art                                  Applicant’s Amendment and Remarks dated
                                                                                    June 1, 2004, Notice of Allowability
                             ’616 Patent File History, Non-Final Office Action
                                                                                    dated June 22, 2004, cited prior art
                             dated December 31, 2003, Applicant’s Amendment
                             and Remarks dated June 1, 2004, Notice of
                                                                                    Extrinsic Evidence
                             Allowability dated June 22, 2004, Certificate of
                             Correction dated October 11, 2005, cited prior art     U.S. Patent Nos. 6,300,234; 5,789,271; 5,329,423
                             Inter Partes Review
                                                                                    New Shorter Oxford English Dictionary at 948 (4th
                             Samsung Elecs. Co., Ltd. v. Tessera Advanced           ed. 1993)
                             Technologies, Inc., IPR2018-01264, Doc. No. 1,
                             Samsung’s Petition for Inter Partes Review of U.S.     New Lexicon Webster Encyclopedic Dictionary of
                             Patent No. 6,852,616 (June 15, 2018), and exhibits     the English Language at p. 351 (1991)
                             thereto.
                                                                                    The Oxford English Reference Dictionary at p. 519
                             Samsung Elecs. Co., Ltd. v. Tessera Advanced           (1996)
                             Technologies, Inc., IPR2018-01263, Doc. No. 1,
                             Samsung’s Petition for Inter Partes Review of U.S.     Peter Van Zant, Microchip Fabrication, pp. 389-
                             Patent No. 6,512,298 (June 15, 2018), and exhibits     410 (3d Ed. 1997)
                             thereto.

                                                                    16
US-DOCS\101776257.2
                      Case 2:17-cv-00671-JRG Document 87 Filed 06/22/18 Page 17 of 21 PageID #: 2176
                                                            APPENDIX A


     Claim Term(s)            Plaintiff’s Proposed Construction And Support           Defendants’ Proposed Construction And
     From ’298/’616                                                                                  Support
        Patents

                             Extrinsic Evidence                                   The Oxford Illustrated American Dictionary at p.
                                                                                  299 (1998)
                             The American Heritage College Dictionary, 3rd Ed.,
                             1997, at 509.                                      The Oxford Illustrated American Dictionary at p.
                                                                                299 (1998)
                             The American Heritage College Dictionary, 4th Ed.,
                             2002, at 518.                                      The Oxford American College Dictionary at p. 500
                                                                                (2002)
                             American Heritage Dictionary of English            Chue San Yoo, Semiconductor Manufacturing
                             Language, 4th Ed. (2000) at 659.                   Technology, pp. 128-133 (2008)
                             Merriam-Webster’s Collegiate Dictionary, 10th
                                                                                 Testimony of Peter Elenius and/or Pradeep Lall that
                             Ed., 2001, at 434-35.
                                                                                 the term “forming … so as to fill up the first
                             Shorter Oxford English Dictionary, 5th Ed., 2002,   opening and second opening” is understandable to a
                             vol. 2 at 956.                                      layperson and should be afforded its plain and
                                                                                 ordinary meaning. The expert will explain the
                             Webster’s II New College Dictionary, 3 Ed., 2001, technology, the state of the art at the time the patent
                                                                     rd

                             at 418.                                             application was filed, the meaning of claim terms
                                                                                 or phrases as they would be understood by those of
                             Modern Dictionary of Electronics, 7th Ed., Rudolf ordinary skill in the art at the time of the invention,
                             F. Graf, 1999 at 240-241, 252, 284, 456, 571, 643,  how those of ordinary skill in the art at the time of
                             646.                                                the invention would have understood statements
                                                                                 made by the patentee during prosecution of the
                             The Illustrated Dictionary of Electronics, 8th Ed., applications, the indefiniteness of any of the
                             Stan Gibilisco, 2001 at 178, 251, 682, 687.         asserted claims, and the level of ordinary skill in
                                                                                 the relevant art. The expert may also offer a
                             Concise Dictionary of Engineering: A Guide to the declaration, if necessary, to respond to Tessera’s
                             Language of Engineering, Ed. Ron Hanifan, 2014      contentions, any expert testimony on behalf of
                             at 56, 215.                                         Tessera, or for the Court’s benefit.

                                                                   17
US-DOCS\101776257.2
                      Case 2:17-cv-00671-JRG Document 87 Filed 06/22/18 Page 18 of 21 PageID #: 2177
                                                              APPENDIX A


     Claim Term(s)            Plaintiff’s Proposed Construction And Support            Defendants’ Proposed Construction And
     From ’298/’616                                                                                   Support
        Patents

                             U.S. Patent No. 6,538,319.
                                                                                   See also cited evidence for “a second, thick
                             U.S. Patent No. 6,784,545.                            conductive film selectively on the first, thin
                                                                                   conductive film” above.
                             Samsung’s Interrogatory Responses and Invalidity
                             Contentions

                             Plaintiff may rely on the testimony of Drs. Streit,
                             Lee, and/or Kenny regarding the proper
                             construction of this term and/or its definiteness.

 “a protective film          Plain and ordinary meaning, no construction           indefinite
 formed … having a           necessary.
 property of repelling                                                             Intrinsic Evidence
 conductive material” /      Intrinsic Evidence
                                                                                   ’298 Patent at Abstract, 1:29-51, 1:63-2:12, 3:66-
 “forming a protective       ’298 Patent at Abstract, 1:29-51, 1:63-2:12, 3:66-    4:2, 6:29-32, 8:33-47, 9:61-10:16, 11:20-12:4, Figs.
 film having a property      4:28, 6:27-48, 8:33-48, 9:61-10:16, 11:20-12:4,       2, 3A-D, 4A-D, 5.
 of repelling conductive     Figs. 1-5, claims 1-6, 8-12.
 material.”                                                                        ’298 Patent File History, Non-Final Office Action
                             ’616 Patent at Abstract, 1:29-51, 1:63-2:12, 3:66-    dated April 23, 2002, Notice of Allowability dated
 ’298 patent, claim 8        4:28, 6:27-48, 8:33-48, 9:61-10:16, 11:20-12:4,       August 13, 2002, cited prior art
                             Figs. 1-5, claims 1-6, 8-9.
 ’616 patent, claim 8                                                              ’616 Patent File History, Non-Final Office Action
                             ’298 Patent File History, Non-Final Office Action     dated December 31, 2003, Applicant’s Amendment
                             dated April 23, 2002, Amendment dated May 17,         and Remarks dated June 1, 2004, Notice of
                             2002, Notice of Allowability dated August 13,         Allowability dated June 22, 2004, cited prior art
                             2002, Certificate of Correction dated May 14,
                             2007, cited prior art                                 Extrinsic Evidence


                                                                     18
US-DOCS\101776257.2
                      Case 2:17-cv-00671-JRG Document 87 Filed 06/22/18 Page 19 of 21 PageID #: 2178
                                                            APPENDIX A


     Claim Term(s)            Plaintiff’s Proposed Construction And Support           Defendants’ Proposed Construction And
     From ’298/’616                                                                                  Support
        Patents

                             ’616 Patent File History, Non-Final Office Action    Peter Van Zant, Microchip Fabrication, pp. 389-
                             dated December 31, 2003, Applicant’s Amendment       410 (3d Ed. 1997)
                             and Remarks dated June 1, 2004, Notice of
                             Allowability dated June 22, 2004, Certificate of     Jennie S. Hwang, Modern Solder Technology for
                             Correction dated October 11, 2005, cited prior art   Competitive Electronics Manufacturing, pp. 57-64
                                                                                  (1996)
                             Inter Partes Review
                                                                                  Testimony of Peter Elenius and/or Pradeep Lall that
                             Samsung Elecs. Co., Ltd. v. Tessera Advanced         the terms “a protective film formed … having a
                             Technologies, Inc., IPR2018-01264, Doc. No. 1,       property of repelling conductive material” and
                             Samsung’s Petition for Inter Partes Review of U.S.   “forming a protective film having a property of
                             Patent No. 6,852,616 (June 15, 2018), and exhibits   repelling conductive material” are indefinite. The
                             thereto.                                             expert will explain the technology, the state of the
                                                                                  art at the time the patent application was filed, the
                             Samsung Elecs. Co., Ltd. v. Tessera Advanced         meaning of claim terms or phrases as they would be
                             Technologies, Inc., IPR2018-01263, Doc. No. 1,       understood by those of ordinary skill in the art at
                             Samsung’s Petition for Inter Partes Review of U.S.   the time of the invention, how those of ordinary
                             Patent No. 6,512,298 (June 15, 2018), and exhibits   skill in the art at the time of the invention would
                             thereto.                                             have understood statements made by the patentee
                                                                                  during prosecution of the applications, the
                             Extrinsic Evidence
                                                                                  indefiniteness of any of the asserted claims, and the
                             Modern Dictionary of Electronics, 7th Ed., Rudolf    level of ordinary skill in the relevant art. The expert
                             F. Graf, 1999 at 508, 634, 709-10, 847.              may also offer a declaration, if necessary, to
                                                                                  respond to Tessera’s contentions, any expert
                             Concise Dictionary of Engineering: A Guide to the    testimony on behalf of Tessera, or for the Court’s
                             Language of Engineering, Ed. Ron Hanifan, 2014       benefit.
                             at 56, 210, 213, 228, 229, 260.



                                                                  19
US-DOCS\101776257.2
                      Case 2:17-cv-00671-JRG Document 87 Filed 06/22/18 Page 20 of 21 PageID #: 2179
                                                             APPENDIX A


     Claim Term(s)            Plaintiff’s Proposed Construction And Support       Defendants’ Proposed Construction And
     From ’298/’616                                                                              Support
        Patents

                             International Technology Roadmap for
                             Semiconductors 2.0, 2015 Edition, Heterogeneous
                             Integration, 2015.

                             WLCSP and Flip Chip Bumping Technologies,
                             Andrew Strandjord et al., Advanced Packaging,
                             March 19, 2008.

                             Solder Reflow Technology Handbook, Research
                             International, Section 1: Solder Reflow Basics,
                             1998.

                             Synaptics Inc. v. Amkor Tech., Inc., IPR2016-
                             00866, Ex. 2001 (Declaration of Dr. Schaper) (July
                             13, 2016) and related exhibits.

                             SAMS232-0013163

                             SAMS232-0027871

                             SAMS232-0027882

                             U.S. Patent No. 6,030,889

                             U.S. Patent No. 5,521,438

                             U.S. Patent App. 2005/0194686

                             U.S. Patent App. 2008/0206928


                                                                   20
US-DOCS\101776257.2
                      Case 2:17-cv-00671-JRG Document 87 Filed 06/22/18 Page 21 of 21 PageID #: 2180
                                                              APPENDIX A


     Claim Term(s)            Plaintiff’s Proposed Construction And Support        Defendants’ Proposed Construction And
     From ’298/’616                                                                               Support
        Patents

                             Samsung’s Interrogatory Responses and Invalidity
                             Contentions

                             Plaintiff may rely on the testimony of Drs. Streit,
                             Lee, and/or Kenny regarding the proper
                             construction of this term and/or definiteness.




                                                                     21
US-DOCS\101776257.2
